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for a period of five (5) years to enforce the Permanent Injunction. Enforcement of said

Stipulated Judgment and Order for Permanent Injunction by Agreement shall be governed

by the terms of the Settlement Agreement.


Dated: August 11, 2009                  ________________________
                                        JAMES WARE
                                        United States District Judge
